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                                                     Liberty Square Building
                                                     450 5th Street, N.W.
                                                     Washington, DC 20530

                                                   May 2, 2025

VIA ECF
Honorable Leda Dunn Wettre, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102


       Re:     United States of America, et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)
               Disputed Provisions of [Proposed] Scheduling and Case Management Order

Dear Judge Wettre:

        The United States and the Plaintiff States (collectively, “Plaintiffs”) and Defendant Apple
Inc. (“Apple” and collectively with Plaintiffs, the “Parties”) have met and conferred in response
to certain issues the Court raised during the initial status conference on April 17, 2025. The Parties
report their positions as follows.

        ESI Protocol: Section VI.1.A concerning communications that may be excluded from
privilege logs and can be excluded from production should remain as written in the Proposed
Stipulation and Order Governing Electronically Stored Information and Hard Copy Documents.

      Status Reports: The Parties agree that they will submit joint status reports to the Court
two months after the opening of fact discovery, but no earlier than July 15, 2025, and every two
months thereafter.

        Presumptions of Authenticity: The Parties agree to the Presumptions of Authenticity in
Section IX.6 of the Joint [Proposed] Scheduling and Case Management Order (“CMO”; ECF 242-
2 at 16).

        Witness Lists and Rolling Productions: The Parties have conferred over witness lists and
rolling productions of documents and ESI. Their positions, as described in the CMO, have not
changed.




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       Interrogatories: The Parties have revised their positions concerning interrogatories.
While they have reached agreement on many points as stated below, their respective differences
appear in paragraph 2:

   1. Plaintiffs may collectively serve no more than 25 non-contention interrogatories on Apple.
      Apple may serve no more than 25 non-contention interrogatories to all Plaintiffs. Plaintiffs
      will respond individually only if they have particularized information to provide in
      response. Apple may serve no more than 5 non-contention interrogatories to each
      individual Plaintiff. Apple will limit the scope of an interrogatory served on any individual
      Plaintiff to subject matter that is specific to that Plaintiff, such that Apple has a reasonable
      belief that the Plaintiff has unique knowledge on the topic that no other Plaintiff would
      have, and the topic of inquiry is specific to the served Plaintiff.

   2. Plaintiffs’ proposal: Each individual Plaintiff may serve no more than 5 non-contention
      interrogatories on Apple.

       Plaintiffs oppose Apple’s proposal which would create a disproportionate framework:
       Apple would be entitled to serve up to 105 additional interrogatories, while denying
       Plaintiffs the same opportunity unless they first satisfy a vague, Apple-defined threshold.
       Limiting Plaintiffs to “responsive” interrogatories in that context is neither equitable nor
       workable and will generate innumerable disputes.

       Apple’s proposal: Individual Plaintiffs are not entitled, by default, to each serve an
       additional 5 non-contention interrogatories on Apple, which would total another 105
       interrogatories from individual Plaintiffs to Apple. However, to the extent individual
       Plaintiffs require additional interrogatories in order to respond to individualized
       interrogatories served by Apple on individual Plaintiffs, Apple will not unreasonably deny
       such requests. Further, to the extent individual Plaintiffs serve such interrogatories, those
       individual Plaintiffs will limit the scope of any such interrogatories to subject matter that
       is specific to that individual Plaintiff.

   3. Plaintiffs may collectively serve no more than 15 contention interrogatories on Apple, and
      Apple may serve no more than 15 contention interrogatories on Plaintiffs. Plaintiffs will
      respond individually only if they have particularized information to provide in response.

   4. For purposes of these limits, each discrete subpart of an interrogatory will count as a
      separate interrogatory. The parties must serve any responses and objections to all
      interrogatories within 30 days after the interrogatories are served. Requests for reasonable
      extensions of the time to serve responses and objections to specific interrogatories will not
      be unreasonably withheld. The parties will comply with L. Civ. R. 37.1 to address any
      dispute over interrogatories before seeking the Court’s intervention.

   5. Contention interrogatories must be labeled specifically as such. Contention interrogatories
      shall not be served until 30 days prior to the close of fact discovery unless otherwise
      permitted by the Court. The parties must provide answers to contention interrogatories no
      later than 14 days after the close of fact discovery. However, if a response to a contention

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      interrogatory or portion thereof calls for expert opinions addressed in expert discovery, the
      parties may respond to that contention interrogatory or portion thereof 14 days after the
      close of expert discovery.

       Requests for Admission: The Parties agree to the following provisions concerning
requests for admission:

   1. Plaintiffs may collectively serve no more than 30 requests for admission on Apple, and
      Apple may serve no more than 30 requests for admission on Plaintiffs. Plaintiffs will
      respond individually only if they have particularized information to provide in response.

   2. Requests for admission relating solely to the authorship, authentication, or admissibility of
      documents, data, or other evidence (which are issues that the parties must attempt to resolve
      initially through negotiation) do not count against these limits. The parties must serve any
      responses and objections to requests for admission within 30 days after the requests for
      admission are served. Requests for reasonable extensions of the time to serve responses
      and objections to specific requests for admission will not be unreasonably withheld. The
      parties will comply with L. Civ. R. 37.1 to address any dispute over requests for admission
      before seeking the Court’s intervention.




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 Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

    UNITED STATES OF AMERICA et al.,

                   Plaintiff,
                                                      Case No. 2:24-cv-04055-JXN-LDW
           v.

    APPLE INC.

                   Defendant.

                                CERTIFICATE OF SERVICE

          I hereby certify that the above letter and this Certificate of Service were served

   upon defendant’s counsel, Liza M. Walsh, Esq., Craig S. Primis, Esq., Devora W. Allen,

   Esq., and K. Winn Allen, Esq., 1301 Pennsylvania Avenue, NW, Washington, D.C.,

   20004, by CM/ECF on May 2, 2025.



                                                        BY: s/ Aaron M. Sheanin
                                                        Aaron M. Sheanin
                                                        United States Department of Justice
                                                        Antitrust Division
                                                        Attorney for Plaintiff United States
